Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 1 of 26




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO. _____


  JOEL BENES, JOHN MCCLURE, and DANIEL
  VALDES, on behalf of themselves and all others
  similarly situated,

         Plaintiffs,

  v.
                                                                     CLASS ACTION
  LUIS DE LA AGUILERA, AIDA LEVITAN,
  BERNARDO B. FERNANDEZ, JR., KIRK
  WYCOFF, HOWARD FEINGLASS, and WAYNE
  K. GOLDSTEIN,

        Defendants.
  _______________________________________/


                                 CLASS ACTION COMPLAINT

         Plaintiffs Joel Benes, John McClure, and Daniel Valdes, individually and on behalf of the

  class defined herein, file this Class Action Complaint against Defendants Luis de la Aguilera, Aida

  Levitan, Bernardo B. Fernandez, Jr., Kirk Wycoff, Howard Feinglass, and Wayne K. Goldstein,

  and make the following allegations:

                                         INTRODUCTION

         1.      Corporate directors owe fiduciary duties and obligations to the corporation and its

  shareholders. They must ensure, among other things, that the corporation acts within its lawful

  authority. They cannot cause a corporation to act ultra vires—i.e., to act “‘beyond the scope of

  power allowed or granted by a corporate charter or by law.’” Liberty Counsel v. Fla. Bar Bd. of

  Governors, 12 So. 3d 183, 191 (Fla. 2009).
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 2 of 26




           2.    The directors of U.S. Century Bank (the “Bank”) breached their fiduciary duties,

  failed in their responsibilities, and caused the Bank to act ultra vires, in order to enrich themselves

  and the private equity funds they represented that held the Bank’s preferred stock.

           3.    Defendants are all current or former members of the Bank’s Board of Directors (the

  “Board”). At least three members were appointed to the Board by virtue of their high-level

  positions with private equity funds that held a significant share of the Bank’s common and

  preferred stock.

           4.    In 2021, Defendants breached their fiduciary duties when they devised, approved,

  and implemented an ultra vires transaction to exchange the Bank’s preferred stock for common

  stock. That “Exchange Transaction,” effectuated in July 2021, overwhelmingly favored seven

  private equity funds, including the directors’ private equity funds, that held the Bank’s preferred

  stock.

           5.    Plaintiffs are holders of voting common stock in the Bank. They are “Legacy

  Shareholders” who founded the Bank twenty years ago as a minority-owned community bank

  focused on helping the Hispanic community in Miami-Dade County. The ultra vires Exchange

  Transaction dramatically and illegally shifted the economic and voting power in the Bank from

  these local minority entrepreneurs to large out-of-state private equity funds.

           6.    In May 2021, Defendants approved the Exchange Transaction notwithstanding the

  fact that the Bank’s governing Articles of Incorporation expressly prohibited the conversion of

  Class C and Class D preferred stock to common stock.

           7.    Had they wished to carry out the Exchange Transaction lawfully, the Board should

  have drafted a proposed amendment to the Articles of Incorporation and submitted that proposal

  to the common shareholders for a vote. See Fla. Stat. § 607.1004(1)(b). Defendants knowingly and




                                                    2
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 3 of 26




  intentionally did not do so. Absent a properly approved amendment, the Exchange Transaction

  was ultra vires.

         8.      Plaintiffs’ challenge to the ultra vires Exchange Transaction arises under Fla. Stat.

  § 607.0304(2)(b), which provides in relevant part: “A corporation’s power to act may be

  challenged: . . . [i]n a proceeding by the corporation, directly, derivatively, or through a receiver,

  trustee, or other legal representative, or through shareholders in a representative suit, against an

  incumbent or former director, officer, employee, or agent of the corporation . . . .”

         9.      To guide the Court through the facts set forth below, Plaintiffs attach a timeline of

  the Bank’s authorized shares as Exhibit A.

                                               PARTIES

  Plaintiffs

         10.     Plaintiff Joel Benes is a citizen of the State of Florida residing in Miami-Dade

  County, Florida. Mr. Benes currently holds 6,500 shares in USCB Financial Holdings, Inc., a bank

  holding company trading on NASDAQ that wholly owns U.S. Century Bank.

         11.     Plaintiff John McClure is a citizen of the State of Florida residing in Miami-Dade

  County, Florida. Mr. McClure currently holds 1,200 shares in USCB Financial Holdings, Inc.

         12.     Plaintiff Daniel Valdes is a citizen of the State of Florida residing in Miami-Dade

  County, Florida. Mr. Valdes currently holds 12,000 shares in USCB Financial Holdings, Inc.

  Defendants

         1.      Defendant Luis de la Aguilera is a citizen of the State of Florida and served as

  President, CEO, and a member of the Board of Directors of the Bank at all relevant times.

  Defendant de la Aguilera was appointed Chairman of the Board of Directors of the Bank on June

  28, 2023.




                                                    3
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 4 of 26




         2.      Defendant Aida Levitan is a citizen of the State of Florida and served as a member

  of the Board of Directors of the Bank at all relevant times. Defendant Levitan served as Chairman

  of the Board of Directors of the Bank from May 2017 to June 2023.

         3.      Defendant Kirk Wycoff is a citizen of the State of Florida and served as a member

  of the Board of Directors of the Bank at all relevant times. Defendant Wycoff is the managing

  partner of Patriot Financial Partners II, LP (“Patriot”), which held Class A voting common stock,

  Class B non-voting common stock, and both Class C and Class D preferred stock.

         4.      Defendant Howard Feinglass is a citizen of the State of New York and served as a

  member of the Board of Directors of the Bank at all relevant times. Defendant Feinglass is the

  managing member of Priam Capital Associates, LLC (“Priam”), which held Class A voting

  common stock, Class B non-voting common stock, and both Class C and Class D preferred stock.

         5.      Defendant Wayne K. Goldstein is a citizen of the State of New York and served as

  a member of the Board of Directors of the Bank at all relevant times. Defendant Goldstein is a

  founding partner of Endicott Opportunity Partners IV, LP (“Endicott”), which held Class A voting

  common stock, Class B non-voting common stock, and both Class C and Class D preferred stock.

         6.      Defendant Bernardo B. Fernandez, Jr., is a citizen of the State of Florida and served

  as a member of the Board of Directors of the Bank at all relevant times.

                                  JURISDICTION AND VENUE

         7.      This Court has original jurisdiction over this class action pursuant to the Class

  Action Fairness Act and 28 U.S.C. § 1332(d), because members of the proposed Class are citizens

  of states different from at least one Defendant, there are more than 100 members in the proposed

  Class, and the total amount in controversy in this action exceeds $5,000,000 exclusive of interest




                                                   4
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 5 of 26




  and costs. This Court has supplemental jurisdiction over Plaintiffs’ state law claims under 28

  U.S.C. § 1367.

          8.       Defendants de la Aguilera, Levitan, Wycoff, and Fernandez are citizens of the State

  of Florida and subject to the jurisdiction of this Court.

          9.       Defendants are subject to the jurisdiction of this Court pursuant to Fla. Stat.

  § 48.193, because, at all relevant times, they: (a) committed tortious acts within the State of

  Florida; (b) operated, conducted, engaged in, or carried on a business or business venture in the

  State of Florida; and (c) engaged in substantial and not isolated activity within the State of Florida.

                  i.      Defendants breached fiduciary duties owed to the Bank’s Legacy

                          Shareholders residing in the State of Florida and other states.

                 ii.      Defendants caused injury to the Bank’s Legacy Shareholders residing in the

                          State of Florida and other states.

                iii.      As Board members of a Florida corporation who authorized a transaction

                          involving Florida entities and residents, facilitated by a Florida investment

                          vehicle, Defendants reasonably foresaw the possibility of being haled into

                          a Florida court.

          10.      Venue is proper in this forum pursuant to 28 U.S.C. § 1391 because one or more of

  the named Plaintiffs resides in this judicial district and it is the place where the ultra vires corporate

  acts and breaches of fiduciary duties occurred.

          11.      All conditions precedent to the institution and maintenance of this action have been

  performed, excused, waived, or have otherwise occurred.




                                                      5
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 6 of 26




                                   GENERAL ALLEGATIONS

         A.      Plaintiffs Found U.S. Century Bank As a Minority-Owned Community Bank
                 Focused on Helping Businesses in Miami-Dade County’s Hispanic Community

         12.     U.S. Century Bank is a Florida community bank founded in 2002. When the Bank

  opened, it focused its business on the South Florida community, with an emphasis on the Hispanic

  community. At the time of the Exchange Transaction, the Bank offered a wide range of deposit

  and loan products especially catering to the needs of local business owners, entrepreneurs, and

  households.

         13.     When the Bank was founded, it had only one class of voting common stock, and

  the total number of shares authorized was 10 million shares.

         14.     In 2006, the shareholders of the Bank voted to increase the number of authorized

  common shares to 50 million.

         B.      In the Midst of the Great Recession, the U.S. Department of the Treasury
                 Invests More Than $50 Million in the Bank in Exchange for Shares of Newly
                 Created Preferred Stock

         15.     The Great Recession of 2007 to 2009 and beyond had a negative impact on the

  Bank, as it had on many other financial institutions.

         16.     Despite the negative impact of the Great Recession, the United States Department

  of the Treasury viewed the Bank as one that could survive with an influx of capital.

         17.     In 2009, the Department of the Treasury invested $50.2 million in the Bank as part

  of the federal Troubled Asset Relief Program (“TARP”).

         18.     In May of 2009, to facilitate an agreement with the Department of the Treasury, the

  Bank amended its Articles of Incorporation to authorize one million shares of preferred stock to

  be issued in one or more classes by the Board through appropriate resolutions. This amendment

  was filed with the State of Florida on July 7, 2009 and is attached as Exhibit B.


                                                   6
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 7 of 26




         19.     As part of the Department of the Treasury’s TARP investment in the Bank, the

  Bank adopted two amendments to its Articles of Incorporation, effective August 6, 2009. Each

  amendment created a new series of preferred stock, together the “TARP Preferred” stock. The first

  amendment issued 50,236 shares of “Fixed Rate Non-Cumulative Perpetual Preferred Stock,

  Series A,” and the second amendment issued 2,515 shares of “Fixed Rate Non-Cumulative

  Perpetual Preferred Stock, Series B.” The two amendments to the Bank’s articles are attached as

  Exhibits C and D, respectively.

         20.     Section 6 of the incorporated Standard Provisions of each set of amendments states:

  “Holders of Designated Preferred Stock shares shall have no right to exchange or convert such

  shares into any other securities.” Exhibit C, § 6, at p. A-8; Exhibit D, § 6, at p. A-8.

         C.      The Bank’s Legacy Shareholders and the Treasury Department Approve a
                 $65 Million Investment in the Bank by Seven Private Equity Funds

         21.     By 2015, the Bank improved its performance well enough to attract outside

  investors to infuse new capital into the Bank.

         22.     To allow for this infusion of new capital, the Department of the Treasury and the

  Legacy Shareholders approved a series of “Recapitalization Transactions” that set the terms,

  conditions, and limitations for the new investments and the new investors.

         23.     The Bank’s status as a minority-controlled community bank was a significant factor

  for the state and federal regulators who approved the Recapitalization Transactions.

         24.     The Legacy Shareholders voted to approve the Recapitalization Transactions in

  large part because the Legacy Shareholders would end up holding approximately 38% of the

  Bank’s common equity and over 50% of the voting common stock, allowing the Bank to maintain

  its status as an independent minority-controlled community bank. See ¶ 50, infra. The Legacy

  Shareholders also favored the fact that, should there be a sale of the Bank after the Recapitalization



                                                    7
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 8 of 26




  Transactions, the Legacy Shareholders would receive a pro rata portion of the proceeds of any

  sale after the Preferred Stockholders received the initial $114 million. See ¶ 49, infra.

         25.     On or about March 17, 2015, the Department of the Treasury entered into a

  securities purchase agreement with, inter alia, seven private equity funds for the sale of the TARP

  Preferred stock. The “TARP Preferred Purchase Agreement” is attached as Exhibit E. The seven

  “Private Equity Funds” are: (1) Patriot, (2) Priam, and (3) Endicott—represented by Defendants

  Wycoff, Feinglass, and Goldstein, respectively—and (4) Greenhill Capital Partners, III, L.P.,

  (5) The Claar Family Spray Trust, (6) Great Hollow International, L.P., and (7) TFO Financial

  Institutions Restructuring Fund III, LLC.

         26.     The TARP Preferred Purchase Agreement was premised on the fact that the Private

  Equity Funds would invest $52.675 million in new capital in the Bank and would pay the

  Department of the Treasury $12.325 million for the TARP Preferred stock, for a total of $65

  million.

         27.     Patriot and Priam were designated “Large Purchasers.” Endicott, Greenhill, Claar,

  Great Hollow, and TFO were designated “Other Purchasers.” See Exhibit E, at p. 3 & Schedule I.

         28.     Patriot, Priam, and Endicott—represented by Defendants Wycoff, Feinglass, and

  Goldstein, respectively—agreed to a series of restrictions on the degree of control that they would

  exercise over the Bank in order to not be deemed “bank holding companies” under federal law,

  and to avoid the need to obtain approvals for acquisition of “control” under both federal and Florida

  law. Essentially, Priam, Patriot, and Endicott committed to being passive investors.




                                                    8
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 9 of 26




          D.      The Legacy Shareholders Amend the Bank’s Articles of Incorporation to
                  Create New Classes of Preferred Stock for the Private Equity Funds Investing
                  in the Bank

          29.     On March 12, 2015, the Legacy Shareholders approved the Recapitalization

  Transactions by amending the Bank’s Articles of Incorporation and superseding all previous

  Articles of Incorporation and Amendments, thus establishing the terms and conditions for the stock

  to be issued to the new investors. The 2015 “Amended Articles” of Incorporation are attached as

  Exhibit F.

          30.     The Amended Articles created two classes of common stock: Class A voting

  common stock (50 million shares) and Class B non-voting common stock (8 million shares).

  Exhibit F, art. III.A, at p. 2.

          31.     The Amended Articles created five classes of preferred stock: The first two

  classes—Class A Designated (50,236 shares) and Class B Designated (2,512 shares)—were

  effectively merged into Class C Designated (52,748 shares). See Exhibit F, art. III.B.2.(a), at

  p. 12. The other two classes of preferred stock were Class D Companion (12,309,480 shares) and

  Class E Undesignated (3,185,024 shares). Id.

          32.     Patriot and Priam—represented by Defendants Wycoff and Feinglass,

  respectively—each invested $16,653,199.26 in the Bank ($33.3 million of the $65 million total

  investment, see ¶¶ 37-40, supra), and in exchange received the following stock:

                          Voting            Non-Voting               Class C                Class D

  Patriot            1,905,188 (9.8%)     3,060,256 (50%)        16,669 (31.6%)       3,792,000 (30.9%)

  Priam              1,905,188 (9.8%)     3,060,256 (50%)        16,669 (31.6%)       3,792,000 (30.9%)




                                                  9
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 10 of 26




           33.    Endicott (represented by Defendant Goldstein), Greenhill, Claar, Great Hollow,

  and TFO also invested in the Bank, and in exchange, each received the following stock:

                           Voting              Non-Voting                 Class C           Class D

   Endicott          1,054,290 (5.4%)                0                 3,540 (6.7%)     807,120 (6.6%)

   Greenhill         1,054,290 (5.4%)                0                 3,540 (6.7%)     807,120 (6.6%)

   Claar              950,620 (4.9%)                 0                 3,450 (6.7%)     807,120 (6.6%)

   Great Hollow       950,620 (4.9%)                 0                 3,450 (6.7%)     807,120 (6.6%)

   TFO                950,620 (4.9%)                 0                 3,450 (6.7%)     807,120 (6.6%)


           34.    A small group of Legacy Shareholders also purchased the remaining available

  Class D preferred shares.

           35.    In addition to the holdings described above, Patriot and Priam both were afforded

  the right to appoint one member of the Bank’s Board. Patriot appointed Defendant Wycoff. Priam

  appointed Defendant Feinglass. The Bank later added Defendant Goldstein from Endicott as a

  director. No Legacy Shareholder was appointed to the Board.

           36.    As part of the Recapitalization Transactions, the Amended Articles created

  liquidation preferences for the Class C and Class D preferred stock to enable the new investors to

  protect their investments in the event of a liquidation, dissolution, or winding up of the Bank.

  See Exhibit F, arts. III.B.(e)(iv), III.B.(f)(iv)-(v), at pp. 28-29, 38-39.

           37.    The Private Equity Funds received a $114 million liquidation preference for their

  approximately $65 million investment in the Bank and the purchase of TARP Preferred stock—

  i.e., in the event of a sale of the Bank, the Preferred Stockholders would receive the first $114

  million with the remaining proceeds, if any, divided on a pro rata basis among common

  shareholders.



                                                     10
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 11 of 26




           38.    After the      Recapitalization    Transactions,     the   Legacy Shareholders      had

  approximately 38% of the Bank’s common equity and over 50% of the voting common stock.

           39.    The Amended Articles also created certain redemption rights in the Bank for the

  Class C and Class D preferred stock. The Class C and Class D preferred stockholders, however,

  had no right to require redemption or repurchase of the Class C or Class D shares.

           40.    The Amended Articles expressly state that Class C shareholders have no right to

  convert Class C shares into any other securities of the Bank. See Exhibit F, art. III.B.(e)(v), at

  p. 29.

           41.    The Amended Articles further expressly state that the Class C and Class D

  shareholders “shall not have any rights, preferences, privileges or voting powers or relative,

  participating, optional or other special rights, or qualifications, limitations or restrictions thereof,

  other than as set forth herein or in the Articles of Incorporation or as provided by applicable law.”

  See Exhibit F, arts. III.B.2.(e)(xi), III.B.2.(f)(xii), at pp. 33, 43.

           42.    The Amended Articles do not authorize the directors to exchange or convert

  Class C or Class D preferred stock to common stock.

           43.    Specifically, in Article III, Section B, the Amended Articles authorize the directors

  to create new classes of stock and to create certain rights, including conversion rights, for the new

  classes, but do not authorize the directors to engage in transactions to exchange or convert the

  existing classes of preferred stock into voting or non-voting common stock.

           E.     The Board’s First Attempt to Effect an Exchange Transaction

           44.    In early 2018, the Bank’s Board—which included directors representing three of

  the Private Equity Funds—attempted to engage in a conversion of preferred stock to common

  stock. Patriot, Priam, Endicott, and the other Private Equity Funds sought to maximize their

  investment in the Bank by exchanging their Class C and Class D preferred stock to voting common


                                                      11
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 12 of 26




  stock at the liquidation preference value. Such an exchange would increase the percentage of

  voting common stock held by the Private Equity Funds.

         45.      At the time, the Private Equity Funds collectively owned 94.6% of Class C

  preferred stock, 92.7% of Class D preferred stock, and 45.1% of Class A voting common stock.

  Patriot and Priam owned 100% of the Class B non-voting common stock.

         46.      By converting their Class C and Class D preferred stock to voting common stock,

  the Board could arrange a sale of the Bank that was more profitable for the Private Equity Funds.

         47.      Generally, private equity firms raise funds and manage these monies to yield

  favorable returns for their shareholder clients, often with an investment horizon of between four

  and seven years. The ultimate goal of the Private Equity Funds here was no different—to sell their

  stock in the Bank for the maximum amount they could arrange, and as fast as possible.

         48.      The Board’s 2018 attempt to engage in a conversion never occurred. In November

  2018, a number of Legacy Shareholders filed a direct action in Florida state court. See Rasco v.

  Levitan, No. 2018-038212-CA-01 (Fla. 11th Cir. Ct.). In November 2018, and again in April 2019,

  the Florida court issued orders temporarily enjoining the proposed exchange transaction. The

  Florida court dismissed the case and dissolved the injunction in May 2020. The state court’s

  November 2018, April 2019, and May 2020 orders are attached hereto as Exhibits G, H, and I,

  respectively.

         F.       The Board Tries Again and, this Time, Completes the Ultra Vires Transaction
                  Concurrent with the Bank’s July 2021 Initial Public Offering

         49.      Undeterred, the Board attempted another exchange transaction. Motivated by self-

  interest and with the goal to benefit the Private Equity Funds at the expense of the Legacy

  Shareholders, Defendants on the Board approved the Exchange Transaction. The transaction




                                                 12
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 13 of 26




  occurred concurrently with the Bank’s July 2021 initial public offering (“IPO”) of Class A

  common stock.

         50.    On May 28, 2021, the Bank’s president, Defendant Luis de la Aguilera, distributed

  to all of the Bank’s preferred shareholders the “Letter of Transmittal,” attached hereto as

  Exhibit J, along with the “Offer to Exchange,” attached hereto as Exhibit K.

         51.    The Offer to Exchange provides, in relevant part, that:

                         U.S. Century Bank (the “Bank,” “we” or “us”), a Florida state-chartered
                banking corporation, hereby offers to exchange, upon the terms and subject to the
                conditions set forth in this Offer to Exchange (as it may be amended or
                supplemented from time to time, and together with any appendices hereto, this
                “Offer to Exchange”) and in the accompanying Letter of Transmittal (as it may be
                amended or supplemented from time to time, the “Letter of Transmittal” and,
                together with this Offer to Exchange, the “Offer Documents”), (i) each properly
                submitted share of the Bank’s Class C Non-Voting, Non-Cumulative Perpetual
                Preferred Stock (the “Class C Preferred Stock”) that you hold in exchange for
                certain number of shares of the Bank’s Class A common stock (the “Class A
                common stock”) (subject to certain limitations described in this Offer to
                Exchange), and (ii) each properly submitted share of the Bank’s Class D Non-
                Voting, Non-Cumulative Perpetual Preferred Stock (the “Class D Preferred
                Stock” and, together with the “Class C Preferred Stock,” the “Preferred Stock”)
                that you hold in exchange for certain number of shares of the Bank’s Class A
                common stock (subject to certain limitations described in this Offer to Exchange),
                in each case at an exchange rate determined by dividing (i) the amount of
                liquidation preference of the applicable Preferred Stock that is submitted by
                (ii) the public offering price per share of Class A common stock (the “IPO
                Price”) in the Bank’s initial public offering of Class A common stock (the
                “IPO”). The estimated range of the IPO Price, together with a draft of the offering
                circular for the IPO (the “IPO Offering Circular”), will be included in a
                supplement to this Offer to Exchange (the “Supplement”), which we will send to
                you at least 10 business days prior to the Expiration Date.

  Exhibit K, at p. i (emphasis added).

         52.    The Offer to Exchange further states: “If your Preferred Stock is submitted and

  accepted for exchange by [the Bank], you will receive the applicable amount of Class A common

  stock . . . in accordance with the Exchange Rates, but you will forgo all rights and benefits



                                                13
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 14 of 26




  associated with ownership of such Preferred Stock that are not provided to holders of Class A

  common stock.” Exhibit K, at p. 16.

         53.     The Offer to Exchange provides that any untendered preferred stock will be

  “redeemed by [the Bank]” “for cash, at the stated liquidation preference.” Exhibit K, at p. 16

  (emphasis deleted).

         54.     The Offer to Exchange stated its purpose and effect: “Management of the Bank and

  the Board believe that the exchange of the Preferred Stock for Class A common stock pursuant to

  the Exchange Offers will benefit the Bank by creating a more simplified capital structure that will

  facilitate [the Bank’s] IPO, allowing [the Bank] to harmonize [its] capital structure consistent with

  other similarly sized community banks that are publicly traded. Effecting the Exchange Offers in

  connection with the [Bank’s] IPO also allows [the Bank] to independently establish the Exchange

  Rates for the Exchange Offers based on the market price at which [the Bank’s] shares of Class A

  common stock are sold to the public.” Exhibit K, at p. 10.

         55.     The Offer to Exchange stated that “[p]articipants in the Exchange Offers will

  experience immediate and substantial dilution in the book value of their investment in Class A

  common stock.” Exhibit K, at p. 15.

         56.     The Offer to Exchange further states that “[t]he exercise of outstanding options and

  the issuance of additional securities by [the Bank] could result in further dilution” of Class A

  common stock. Exhibit K, at p. 15.

         57.     The Offer to Exchange “reserved” “6,121,052 million Class A voting common

  shares . . . for future issuance for the potential conversion of [the Bank’s] outstanding Class B

  common stock and exercise of stock options that have been granted by [the Bank].” Exhibit K, at

  p. 15. At the time of the Exchange Transaction, the two largest Private Equity Firms, Patriot and




                                                   14
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 15 of 26




  Priam, owned all 6,121,052 shares of Class B non-voting common stock. See ¶¶ 44, 57, supra; see

  also Exhibit K, at p. 19 (noting that “[a] significant percentage of [the Bank’s] Class A common

  stock, Class B common stock, and outstanding Preferred Stock” was held by Patriot and Priam).

           58.    At the time of the Exchange Transaction, the Legacy Shareholders had almost 9.5

  million Class A voting common shares. Thus, the Exchange Transaction, which also resulted in

  Patriot and Priam’s Class B shares being converted to Class A voting common shares, resulted in

  the dilution of over two-thirds of the value of the Legacy Shareholders’ common stock and voting

  power.

           59.    In addition, the Offer to Exchange disclosed an agreement between the Board and

  Patriot and Priam that gave each of the latter two the right to designate one Board member and

  also “to designate one non-voting Board observer.” Exhibit K, at p. 22.

           60.    Despite their fiduciary obligations to all shareholders, Defendants approved the

  ultra vires Exchange Transaction, which placed the interests of the Private Equity Funds above

  those of the Legacy Shareholders.

           G.     Because the Bank’s Governing Articles of Incorporation Did Not Authorize
                  the Conversion of Class C and Class D Preferred Stock to Common Stock, the
                  Exchange Transaction Was Ultra Vires

           61.    The Amended Articles do not permit the conversion or exchange of Class C and

  Class D preferred stock absent common shareholder approval. The Exchange Transaction was

  therefore ultra vires.




                                                 15
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 16 of 26




          62.     Article III, Subsection B.1 of the Amended Articles provides:

                          Subject to applicable law, to these Article of Incorporation and to the
                  Corporation’s Bylaws, the Board of Directors is authorized, at any time or from
                  time to time, to issue Preferred Stock and: (i) to provide for the issuance of shares
                  of Preferred Stock in one or more classes or series, and any restrictions on the
                  issuance or reissuance of any additional Preferred Stock; (ii) to determine the
                  designation for any such classes or series by number, letter or title that shall
                  distinguish such classes or series from any other classes or series, respectively, of
                  Preferred Stock; (iii) to establish from time to time the number of shares to be
                  included in any such class or series, including a determination that such class or
                  series shall consist of a single share, or that the number of shares shall be decreased
                  (but not below the number of shares thereof then outstanding); and (iv) to determine
                  with respect to the shares of any class or series of Preferred Stock the terms, powers,
                  preferences, qualifications, limitations, restrictions and relative, participating,
                  optional or other special rights of the shares of such class or series of Preferred
                  Stock . . . .

  Exhibit F, at p. 11.

          63.     The only reference to conversion or exchange of Class C preferred stock appears in

  the Amended Articles at Article III.B.2.(e)(v): “Conversion. Holders of Designated Preferred

  Stock shares shall have no right to exchange or convert such shares into any other securities of

  the Corporation.” Exhibit F, at p. 29 (emphasis added).

          64.     Moreover, the provisions governing the rights of Class C and Class D preferred

  stock contain identical provisions limiting the rights of holders:

                  Other Rights. The shares of [Designated or Companion] Preferred Stock shall not
                  have any rights, preferences, privileges or voting powers or relative participating,
                  optional or other special rights, or qualifications, limitations or restrictions thereof,
                  other than as set forth herein or as provided by applicable law.

  Exhibit F, arts. III.B.2.(e)(xi), III.B.2.(f)(xii), at pp. 33, 43.

          65.     The Bank’s governing documents did not authorize Defendants to approve a

  conversion or exchange of preferred stock to common stock without amending the Articles of

  Incorporation and submitting the proposed amendment to a vote of the common shareholders.




                                                      16
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 17 of 26




         66.     Defendants’ approval of the Exchange Transaction contravenes the Amended

  Articles; constitutes an ultra vires act; was a breach of fiduciary duties owed to Plaintiffs and the

  other Legacy Shareholders; and violated Fla. Stat. § 607.1004(1)(b), which required the Exchange

  Transaction be put to a shareholder vote.

         67.     Defendants, all current or former directors of the Bank, approved or caused to be

  approved the Exchange Transaction even though the Amended Articles did not authorize directors

  to approve a transaction converting or exchanging existing preferred stock to common stock.

         68.     Defendants’ approval and implementation of the Exchange Transaction constitutes

  a breach of their fiduciary duties to the Bank’s Legacy Shareholders, because the Exchange

  Transaction favored the Private Equity Funds preferred stockholders over the Legacy Shareholders

  and diluted the value of the Legacy Shareholders’ common stock holdings through ultra vires acts.

         69.     The Exchange Transaction directly conflicts with the Amended Articles’ design to

  protect the Legacy Shareholders from overreaching by the Private Equity Funds.

         H.      The Bank’s Board Continues to Take Actions Designed to Favor the Private
                 Equity Funds at the Expense of the Legacy Shareholders

         70.     Defendants continue to favor the Private Equity Funds that held the preferred

  stock—at the expense and to the detriment of the Legacy Shareholders.

         71.     Most recently, on April 17, 2023, the directors instructed USCB Financial

  Holdings, Inc. (“USCB”) to issue a proxy statement related to USCB’s annual meeting held on

  May 22, 2023, which is attached hereto as Exhibit L. The proxy statement includes a

  recommendation by Defendants encouraging the shareholders to vote in favor of an amendment to

  USCB’s Articles of Incorporation that will change the conversion factor of USCB’s Class B non-

  voting common stock from one-for-five to one-for-one. Exhibit L, at pp. 31-32.




                                                   17
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 18 of 26




          72.    There are no Class B non-voting stocks outstanding. This is because the alleged

  rationale for the illegal Exchange Transaction described above was to make the Bank’s shares

  more marketable for the public markets by having only one class of shares.

          73.    That tune has now changed because it is clear that the Private Equity Funds the

  Defendants’ favor are not in compliance with “regulatory requirements applicable to such

  shareholders under state and federal banking rules and regulations, [and] may need or desire to

  exchange shares of Class A Common Stock for shares of Class B Common Stock.” Exhibit L,

  at p. 32.

          74.    Consequently, Defendants recommended that the shareholders vote to allow those

  preferred Private Equity Funds to divest their voting shares, allowing them to come into regulatory

  compliance, without any penalty or consequence, all while changing the entire capital structure of

  the Bank in spite of Defendants’ previous position that the preferred capital structure (to the public

  markets) should only include one category of shareholders.

          75.    At the Bank’s May 22, 2023 annual meeting, the shareholders adopted the proposed

  amendment to the USCB Articles of Incorporation. The amendment was filed with the State of

  Florida on May 24, 2023 and is attached hereto as Exhibit M.




                                                   18
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 19 of 26




                                  CLASS ACTION ALLEGATIONS

          76.     Plaintiffs bring this class action and seek to certify and maintain it as a class action

  under Fed. R. Civ. P. 23(a) and (b)(3) on behalf of the Class.

          The Class

          77.     Plaintiffs define and will seek certification of the following Class:

                  All record holders of voting common stock in U.S. Century Bank prior to March
                  14, 2015 who were also holders of Class A voting common stock in U.S. Century
                  Bank when U.S. Century Bank authorized an exchange of Class C and Class D
                  preferred stock to Class A voting common stock in June/July 2021.

          78.     Excluded from the Class are Defendants, their employees, officers, directors, legal

  representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliated companies;

  Plaintiffs’ counsel and their employees; and the judicial officers and their immediate family

  members and associated court staff assigned to this case.

          79.     Plaintiffs reserve the right to modify, expand, or amend the definition of the

  proposed Class following class certification discovery and before the Court determines whether

  class certification is appropriate.

          80.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

  Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

  would be used to prove those elements in individual actions alleging the same claims.

  Requirements of Rule 23(a)

          Numerosity

          81.     This action satisfies the numerosity requirement of Fed. R. Civ. P. 23(a)(1). There

  are over 300 shareholders in the proposed Class. Accordingly, the size of the Class makes joinder

  of the individual members impracticable.




                                                    19
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 20 of 26




          Commonality

          82.     This action satisfies the commonality requirement of Fed. R. Civ. P. 23(a)(2).

  Plaintiffs’ claims raise questions of law and fact common to the Class. The common questions of

  law and fact include, but are not limited to, the following:

                  a.     Whether Defendants caused the Bank to engage in ultra vires conduct by

                         devising and approving the Exchange Transaction despite the fact that the

                         governing Articles of Incorporation expressly prohibited conversion of

                         Class C and Class D preferred stock to common stock.

                  b.     Whether the Exchange Transaction was an ultra vires corporate act.

                  c.     Whether Defendants committed breaches of the fiduciary duties they owed

                         to the Bank, Plaintiffs, and the Bank’s Legacy Shareholders by causing the

                         Bank to act ultra vires, favoring the holders of preferred stock over the

                         holders of voting common stock.

                  d.     Whether Defendants committed breaches of the fiduciary duties they owed

                         to the Bank, Plaintiffs, and the Bank’s Legacy Shareholders by failing to act

                         in the best interest of the Bank, the common stockholders, or the

                         stockholders as a whole.

          Typicality

          83.     This action satisfies the typicality requirement of Fed. R. Civ. P. 23(a)(3). The

  claims asserted by Plaintiffs are typical of the claims of the Class. Plaintiffs have suffered harm

  that stems from the same course of conduct. That conduct gives rise to the Class’s claims, which

  are based on the same legal theories and interests and depend on resolution of the same defenses

  to liability.




                                                    20
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 21 of 26




         Adequacy of Representation

         84.     This action satisfies the adequacy of representation requirement of Fed. R. Civ. P.

  23(a)(4). Plaintiffs will fairly and adequately represent the interests of the Class, and they do not

  have any conflict with the interests of the other members of the Class that would preclude them

  from serving as representatives. Plaintiffs have the same interests as members of the Class and will

  fairly and adequately look out for and protect the interests of absent Class members.

         85.     Proposed class counsel are sufficiently experienced in complex litigation and class

  actions and have the qualifications and abilities necessary to adequately represent the interests of

  the Class.

  Requirements of Rule 23(b)(3)

         Predominance

         86.     This action is appropriate for class treatment pursuant to Fed. R. Civ. P. 23(b)(3).

  As set forth in paragraph 94, supra, there are questions of law and fact common to Plaintiffs’

  claims and the claims of each member of the Class. Those common questions of law and fact

  predominate over any questions of law or fact affecting only individual members of the Class.

         87.     The Class will present common proof as to Defendants’ liability, including, but not

  limited to, Defendants’ approval and implementation of the ultra vires Exchange Transaction and

  breaches of their fiduciary duties.

         Superiority

         88.     A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy. Class certification in this matter would aid in case management

  and the efficient use of limited resources. A class action would achieve substantial economies of

  time, effort, and expense, and would assure uniformity of decisions as to persons similarly situated




                                                   21
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 22 of 26




  without sacrificing procedural fairness.

  Issue Certification

          89.     This action is appropriate for issue certification pursuant to Fed. R. Civ. P.

  23(d)(4)(A). Plaintiffs’ proposed Class seeks certification of a particular legal issue—namely,

  whether Defendants approved the ultra vires Exchange Transaction and breached their fiduciary

  duties to the Bank, the Legacy Shareholders, and the common stockholders.

                                                 COUNT I

                        THE EXCHANGE TRANSACTION IS ULTRA VIRES

                                         (Against all Defendants)

          90.     Plaintiffs re-allege and incorporate by reference paragraphs 1 to 101, as if fully set

  forth herein.

          91.     Defendants caused the Bank to engage in ultra vires conduct by devising and

  approving the Exchange Transaction despite the fact that the governing Articles of Incorporation

  expressly prohibited conversion of Class C and Class D preferred stock to common stock.

          92.     The Bank’s Amended Articles expressly prohibited the exchange or conversion of

  Class C shares into any other securities of the Bank (such as common stock) and expressly denied

  to Class C and Class D preferred stockholders any rights, privileges, or preferences other than

  those set forth in the Amended Articles (such as exchanging Class D preferred stock for common

  stock). See Exhibit F, arts. III.B.2.(e)(v), III.B.2.(e)(xi), III.B.2.(f)(xii), at pp. 29, 33, 43.

          93.     On or about May 28, 2021, Defendants approved, or caused to be approved, the

  Bank’s decision to offer Class C and Class D preferred shareholders the opportunity to convert

  Class C and Class D preferred shares into voting common shares.




                                                      22
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 23 of 26




         94.     Article III.B.2.(e)(v) of the Amended Articles expressly prohibited the conversion

  of Class C preferred stock:

                 Holders of Designated Preferred Stock shares [Class C] shall have no right to
                 exchange or convert such shares into any other securities of the Corporation.

  Exhibit F, at p. 29.

         95.     Article III.B.2.(e)(xi) of the Amended Articles restricted the rights of Class C

  preferred stock to those rights expressly provided in the Bank’s Amended Articles or bylaws:

                 Other Rights. The shares of Designated Preferred Stock [Class C] shall not have
                 any rights, preferences, privileges or voting powers or relative participating,
                 optional or other special rights, or qualifications, limitations or restrictions thereof,
                 other than as set forth herein or as provided by applicable law.

  Exhibit F, at p. 33

         96.     Article III.B.2.(f)(xii) of the Amended Articles restricted the rights of Class D

  preferred stock to those rights expressly provided in the Amended Articles or by law:

                 Other Rights. The shares of Companion Preferred Stock [Class D] shall not have
                 any rights, preferences, privileges or voting powers or relative participating,
                 optional or other special rights, or qualifications, limitations or restrictions thereof,
                 other than as set forth herein or as provided by applicable law.

  Exhibit F, at p. 43.

         97.     To carry out a conversion of Class C and Class D preferred stock to common stock,

  the Board was required to submit a proposed amendment to the Amended Articles and submit that

  proposal to the common shareholders for a vote. See Fla. Stat. § 607.1004(1)(b). Defendants did

  not do so. The Exchange Transaction was therefore ultra vires.




                                                    23
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 24 of 26




                                               COUNT II

                                 BREACH OF FIDUCIARY DUTY

                                         (Against all Defendants)

         98.      Plaintiffs re-allege and incorporate by reference paragraphs 1 to 101, as if fully set

  forth herein.

         99.      As the Bank’s Board members, each Defendant owes fiduciary duties to the Bank,

  Plaintiffs, and all of the Bank’s common stockholders. These duties include, without limitation,

  duties of good faith, care, and loyalty.

         100.     Defendants’ fiduciary duties require them to act in the best interests of all of the

  stockholders, and not in favor of the interests of preferred stockholders over those of the Legacy

  Shareholders.

         101.     Further, by virtue of the fiduciary duties they owe the common stockholders,

  Defendants are required to (a) adhere to the Amended Articles and not approve ultra vires

  transactions; (b) act in the best interests of common stockholders; and (c) avoid acting in their own

  self-interests when conflicts exist.

         102.     The conduct, acts, and omissions described herein demonstrate that Defendants

  committed breaches of the fiduciary duties they owed to the Bank, Plaintiffs, and the common

  stockholders by causing the Bank to act ultra vires, favoring the holders of preferred stock over

  the holders of voting common stock, and failing to act in the best interest of the common

  stockholders, causing them direct harm and special injury.

         103.     As a result of the Defendants’ actions detailed above, Plaintiffs have suffered

  economic losses through the dilution of the value of their common stock. Because of the approval

  and implementation of the Bank’s ultra vires actions and Defendants’ breaches of their fiduciary




                                                   24
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 25 of 26




  duties, Plaintiffs and the common stockholders have been directly, specially, and proximately

  injured.

                                         PRAYER FOR RELIEF

             WHEREFORE, Joel Benes, John McClure, and Daniel Valdes, individually and on behalf

  of the Class, demand judgment against Defendants Luis de la Aguilera, Aida Levitan, Bernardo B.

  Fernandez, Jr., Kirk Wycoff, Howard Feinglass, and Wayne K. Goldstein for remedies including,

  but not limited to, the following:

             a.     Declare this action to be a proper class action pursuant to Fed. R. Civ. P. 23(a) and

                    (b)(3) on behalf of the Class;

             b.     Designate and appoint Class Representatives and Class Counsel;

             c.     Award Plaintiffs and Class Members damages in an amount to be proven at trial;

             d.     Award Plaintiffs and Class Members their reasonable attorneys’ fees and costs, as

                    allowed by law;

             e.     Award Plaintiffs and Class Members pre-judgment and post-judgment interest, as

                    provided by law; and

             f.     Award Plaintiffs and Class Members any further and different relief as this case

                    may require or as determined by this Court to be just, equitable, and proper under

                    the circumstances.

                                      DEMAND FOR JURY TRIAL

             Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs hereby demand a jury trial on all issues so

  triable.




                                                     25
Case 1:23-cv-22488-CMA Document 1 Entered on FLSD Docket 07/05/2023 Page 26 of 26




   Dated: July 5, 2023                   Respectfully submitted,

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                                       26
